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                       23-16176 & 23-16189


                UNITED STATES COURT OF APPEALS
                    FOR THE NINTH CIRCUIT



                           PAMELA SIINO,

                        Plaintiff & Appellee,

                                  v.

      FORESTERS LIFE INSURANCE AND ANNUITY COMPANY,

                      Defendant & Appellant.


   U.S. District Court for the Northern District of California
                       4:20-cv-02904-JST
                  Jon S. Tigar, District Judge


 Petition for Panel Rehearing and Rehearing En Banc


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            INTRODUCTION & RULE 40 STATEMENT

     This appeal arose out of a summary judgment for

Pamela Siino after Foresters Life Insurance and Annuity

Company terminated her life insurance policy without

providing her with notices of unpaid premium and

impending termination, and an opportunity to designate

other persons to receive those notices, as required by

California Insurance Code sections 10113.71 and 10113.72

(the “Statutes”).

     The summary judgment should have been affirmed.

Section 10113.72(c) states: “No individual life insurance

policy shall ... be terminated for nonpayment of premium

unless the insurer … gives notice to the policy owner and to

the person ... designated pursuant to subdivision (a).” It is

undisputed Foresters did not do so. Thus, Siino’s policy could

not be terminated and she was entitled to have it reinstated.

     Despite agreeing that Foresters violated the Statutes’

notice and designee requirements, the Siino panel reversed,




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citing Small v. Allianz Life Insurance Company of North

America, 122 F.4th 1182 (9th Cir. 2024).

     Contrary to section 10113.72(c)’s text, Small has been

wrongly interpreted to hold that even when an insurer

terminates a policy for unpaid premium without providing

notices request by the Statutes, the policy remains

terminated unless the plaintiff shows the violation of the

Statutes caused their damages. Small, 122 F.4th at 1193.

     Rehearing here is warranted for two reasons.

     First, panel rehearing is required because the panel’s

opinion “misapprehended” important facts. See Fed. R. App.

P. 40(b)(1)(A)

     The panel held that “[e]ven if the insurer had sent

Siino the requisite notices, they would not have reached her

where the record makes clear that Siino moved and failed to

successfully update her address on file.” (Memo. Opn. at 3.)

     But that holding does not address Foresters’ failure to

allow Siino to designate a third person to receive notices.

Had Foresters notified Siino of her right to designate a third


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person, she would have done so, and contends that person

would have received the notices Siino did not receive since

her address was not updated. Siino also showed she would

have likely paid the premium upon receiving the notice in

light of evidence she had requested Foresters reinstate the

policy when she learned it had lapsed. (2-ER-139, 142–143,

238.) Thus, the record shows Siino would have avoided a

lapse in coverage if Foresters complied with the Statutes.

     Second, the panel’s reliance on Small warrants

rehearing en banc because it concerns a “question of

exceptional importance.” See Fed. R. App. P. 40(b)(2)(D)

     That question—the so-called “causation question” is as

follows:

     When an insurer terminates coverage without
     providing notices or designation rights required
     by California Insurance Code sections 10113.71
     10113.72, must a plaintiff prove the policy owner
     would have avoided a lapse in coverage but for
     the insurer’s failure to provide the requisite
     notices or designation rights in order to reinstate
     coverage or obtain its benefits?

     By answering that question in the affirmative, Small

not only misread California law, it trampled on federalism

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by nullifying critical protections in a multi-billion-dollar

insurance industry, the regulation of which is entrusted to

the California’s police powers under the doctrine of reverse-

preemption.

      If these are not sufficient reasons for an en banc Court

to reconsider Small, they compel certifying the causation

question to the California Supreme Court.

      Indeed, a different panel recently certified a question

regarding the Statutes to the California Supreme Court, see

Pitt v. Metropolitan Tower Life Insurance Co., 2025 WL

556052 (9th Cir. Feb. 20, 2025), and certification here is no

less warranted than there, and would allow the California

Supreme Court to efficiently address both issues

concurrently. This is particularly so because the causation

question here is likely to present in Pitt on remand,

assuming the California Supreme Court resolves that issue

in Pitt’s favor.

      Moreover, the United States Supreme Court is

considering a petition for writ of certiorari—filed by the
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same counsel representing the defendant-insurer in Small—

contending that this Court’s refusal to certify questions of

state law to state courts of last resort violates federalism

principles. The United States Supreme Court recently

ordered the respondent to address the petition. Premium

Nutrition Corp. v. Montera, No. 24-999 (Apr. 9, 2025).

     The plaintiff in Small—represented by the same

counsel as Siino—intends to file her own petition for

certiorari asking the United States Supreme Court to

address the circuit split on certification standards based on

this Court’s refusal to certify the foregoing causation

question to the California Supreme Court.

     If this Court is not prepared to certify the causation

question to the California Supreme Court as Siino urges, it

should at least defer issuing the mandate here until the

United States Supreme Court decides whether to grant

certiorari in Montera or Small.




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                          BACKGROUND

1.   California law requires insurers to allow policy
     owners to designate additional people to receive
     notices of unpaid premium for life insurance
     policies.

     Life insurance provides “critical protection” through

which “Californians ensure that their families … are

protected by a financial safety net.” McHugh v. Protective

Life Ins. Co., 494 P.3d 24, 27 (Cal. 2021). The Legislature

found consumers often face significant difficulty securing

coverage when they lose life insurance they have had “for

many years” simply because “a single premium payment is

accidentally missed[.]” Id. at 42.

     In 2012, the California Legislature enacted California

Insurance Code sections 10113.71 and 10113.72 (the

“Statutes”) to provide policy owners with “critical safeguards

to avoid defaulting.” McHugh, 494 P.3d at 35.

     First, they require insurers to give policy owners a 60-

day “grace period” to pay past-due premium before

cancelling a policy. Cal. Ins. Code § 10113.71(a).



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     Second, they require insurers to notify policy owners of

impending termination at least 30 days before the policy

lapsed. Id., §§ 10113.71(b)(1), 10113.72(c).

     Third, they require insurers to allow policy owners to

designate other people to receive copies of notices. Id.,

§§ 10113.72(a), (c), 10113.71(b)(1).

     The Statutes confirm an insurer’s failure to follow

these requirements prevents it from terminating a policy for

unpaid premium: “No individual life insurance policy shall

lapse or be terminated for nonpayment of premium unless

the insurer … gives notice to the policy owner and to the

person or persons designated pursuant to subdivision (a).”

Id., § 10113.72(c).

2.   Appellant terminated Siino’s life insurance
     policy without allowing her to designate another
     person to receive notices of unpaid premium.

     In 2010, Siino purchased a life insurance policy from

Foresters in California. (3-ER-365–66.) Siino’s policy

required annual premiums. (2-ER-212–214, 218.) Siino

timely paid the premiums due under the policy. (2-ER-238.)


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Siino’s husband had also purchased two separate life

insurance policies from Foresters. (2-ER-108, 302).

     The Siinos moved several times after Siino purchased

her policy. (2-ER-111.) Siino’s husband would update their

addresses for both policies by either calling Foresters or

writing the Siinos’ new address on the bill. (2-ER-111–112,

120–121, 125–126, 137.)

     In January 2016 and 2017, the Siinos did not receive

premium notices in the mail. However, Foresters emailed

Siino’s husband and reminded him that the premium

payment was due on Siino’s policy. (2-ER-131–136.) The

Siinos advised Foresters that Siino had not been receiving

notices on her policy. The Siinos also confirmed their proper

mailing address with Foresters on more than one occasion.

(2-ER, 134–137, 238; 3-ER-366.) They also had their mail

forwarded from their prior address. (2-ER-130–131.)

     In January 2018, Siino missed her premium payment

because Foresters failed to provide her notice. (3-ER-367.)




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     Foresters terminated Siino’s policy 31-days after the

premium was due, rather than waiting 60 days as the

Statutes require. (2-ER-238.) Siino did not receive any notice

from Foresters regarding the premium due or the lapse or

termination notice required under the Statutes. (2-ER-238;

3-ER-367.)

     In early 2019, after Siino realized she had not received

notices regarding her policy, Siino’s husband contacted

Foresters to pay the premium on Siino’s policy and was

informed that the policy had been terminated. (2-ER-139,

142–143, 238.)

     In March 2019, Foresters refused to reinstate Siino’s

policy, and advised that her only option was to apply for new

coverage, which required a medical examination. (2-ER-235,

238; 3-ER-367.) Siino acquired a policy from a different

company. (2-ER-88, 235.) In April 2020, Appellant stated it

could reinstate her policy if she paid the missed premiums.

(2-ER-232.) But Siino had already acquired and paid for a

different life insurance policy. (2-ER-232.)


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     Foresters never notified Siino of the right to designate

a third party to receive notices of unpaid premium or

impending termination as the Statutes require. (2-ER-238;

3-ER-366; 1-SER-7–9, 21, 23–27.)

     In 2020, Siino sued Foresters, then sought summary

judgment on her declaratory judgment causes of action. (2-

ER-200–04; 3-ER-358–380.) The district court granted

summary judgment for Siino, finding Foresters failed to

comply with the Statutes. (1-ER-14–15.) Foresters appealed.

     On April 1, 2025, a panel issued a memorandum

opinion reversing in part the summary judgment for Siino.

The panel agreed Foresters “violated the Statutes’

Pretermination Notice Requirement and Designee Notice

Requirement.” (Memo. Opn., at 3.) Nonetheless, applying

Small, it reversed the court’s declaration that Siino’s

insurance policy remained valid, holding this declaration

required evidence of causation that Siino failed to provide.

(Memo. Opn. at 2–3.)




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               REASONS TO GRANT REHEARING

1.   The panel overlooked evidence of causation.

     The panel found Foresters did not comply with the

Statutes. (Memo opn., p. 3.) Still, it held Foresters’s failure

to send the required notices did not cause Siino’s policy to

lapse because she did not update her mailing address and

would not have received the notices anyway. (Memo opn., p.

3.) This holding ignores the third-person designee

requirement and its purpose—for someone other than the

insured to receive notices in the event the insured does not.

     This holding also overlooks evidence in the record that

Siino would have paid the premium if she received the

notices, either directly or through her third-person designee.

Indeed, Siino requested Foresters reinstate the policy when

she learned it had lapsed and purchased a different policy

when Foresters refused. (2-ER-139, 142–143, 232, 238.)

     Contrary to the panel’s holding, Siino did present

evidence to support Foresters’s failures to comply with the

Statutes caused her policy to lapse.


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2.   Small wrongly decided a question of exceptional
     importance.

     Rehearing en banc is warranted because the panel’s

reliance on Small was misplaced: As discussed below, Small

wrongly decided a question of exceptional importance.

2.1. Small was wrongly decided.

     Small is contrary to [1] the text of section 10113.72, [2]

the California Supreme Court’s statements in prior

decisions, [3] 80 years of published Court of Appeal decisions

involving similar statutes, and [4] even the Ninth Circuit’s

own prior decision on this exact question.

     [1] Small contradicts the statute’s text. Section

10113.72(c) states: “No individual life insurance policy shall

lapse or be terminated for nonpayment of premium unless the

insurer … gives notice … pursuant to subdivision (a).”

(Emphasis added.) This language provides that an insurer’s

violation of the Statutes’ notice provisions means the policy

cannot lapse for nonpayment of premium. If a life insurance

cannot terminate a policy for unpaid premium where it fails

to provide requisite notices, it follows that a policy owner or
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beneficiary need not show a causal nexus between an

insurer’s failure to provide requisite notices and unpaid

premium in order to reinstate coverage or obtain death

benefits due under a policy. Any contrary conclusion ignores

the statute’s plain text.

      [2] Small also contradicts the California Supreme

Court’s statements regarding how the Statutes and similar

insurance statutes work.

      In McHugh, the California Supreme Court endorsed

Siino’s understanding of the Statutes: “Those provisions

clearly establish … insurers cannot terminate policies for a

premium lapse until they give … notice[.]” 494 P.3d at 45

(italics added); id. [“When the Legislature enacted [the

Statutes], it … kept such policies from being revoked when

policy owners lapsed in paying premiums.”]; id. [“This

language states a substantive rule of law … that precludes

lapse or termination of any policy absent provision of the

required notice.”] (Jenkins, J., conc.).)




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      And in Transamerica Insurance Co. v. Tab

Transportation, Inc., 12 Cal.4th 389 (1995), the California

Supreme Court—construing an auto-insurance statute

analogous to section 10113.72(c)—concluded that, because

“there was no compliance with the notice requirements,” the

“policy was still in effect at the time of the accident.” Id. at

400, abrogated by statute as recognized by Allied Premier

Ins. v. United Fin. Cas. Co., 15 Cal.5th 20 (2023).

      McHugh and Transamerica show that an insurer’s

noncompliance with the Statutes keeps a policy in force

despite unpaid premium. Not coincidentally, Small did not

address either case.

      [3] Small also contradicts 80 years of Court of Appeal

decisions which, when construing insurance statutes similar

to section 10113.72, held that an insurer’s noncompliance

with statutory pretermination notice requirements keeps the

policy in force despite nonpayment of premium. See Molinar

v. 21st Century Ins. Co., 318 Cal.Rptr.3d 608, 609 (Cal. Ct.

App. 2024) (“Because the insurer did not give advance notice


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of cancellation to the adult daughter, the policy was still

legally in effect ….”); Kotlar v. Hartford Fire Ins. Co., 100

Cal.Rptr.2d 246, 249 (Cal. Ct. App. 2000) (“If a cancellation

is defective, the policy remains in effect even if the

premiums are not paid.”); Fireman’s Fund Ins. Co. v. Allstate

Ins. Co., 286 Cal.Rptr. 146, 148 (Cal. Ct. App. 1991)

(“Fireman’s failed to give the required notice of cancellation

to the PUC. Thus, we conclude Fireman’s policy was in full

force and effect on the date of the accident giving rise to

damage claims.”); Ohran v. Nat’l Auto. Ins. Co., 82

Cal.App.2d 636, 643 (Cal. Ct. App. 1947) (“[T]he Legislature

… intended therein to limit this right of cancellation

according to the strict terms of the statute, making such

notice indispensable for an effective termination ….”).

     Small disregarded those decisions because they

involved short-term liability policies. Small, 122 F.4th at

1194 [“We believe these California short-term insurance

cases have distinguishable facts that make the reasoning

behind these rulings less persuasive in the life insurance


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context.”].) But as the California Supreme Court explained

in McHugh, section 10113.72 was designed to require life

insurers to offer the same anti-lapse protections that

insurers had long provided in other insurance contexts.

McHugh, 494 P.3d at 30 (noting the Statutes “require life

insurers to provide notice when canceling a policy … for

nonpayment of a premium” insurers were already required

to provide “when cancelling other forms of insurance” like

“automobile policies” (citing Cal. Ins. Code, § 662(a))).

     [4] Finally, Small also contradicts this Court’s prior

decision on this exact issue. In Thomas v. State Farm Life

Insurance Co., 2021 WL 4596286, at *1 (9th Cir. 2021), the

Ninth Circuit held that “an insurer’s failure to comply with

[the Statutes’] statutory requirements means that the policy

cannot lapse,” and therefore that “evidence that the policies

would not have lapsed even had [the insurer] complied with

[the Statutes] … is not necessary for [the plaintiff] to

prevail.”




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     Small disregarded Thomas because it was short on

analysis. But unlike Small, Thomas cited the California

Supreme Court’s statements in McHugh.

     Rather than [1] the Statutes’ text, [2] the California

Supreme Court’s statements in McHugh and Transamerica,

[3] 80 years of Court of Appeal decisions, or [4] this Court’s

prior decision in Thomas, Small relied on misplaced policy

concerns. Small, 122 F.4th at 1197 (“public policy favors the

‘causation’ theory”).

     But a federal court sitting in diversity cannot ignore

clear statutory law simply because it thinks a different rule

would be better policy. E.g., Todd v. Societe Bic, S.A., 21 F.3d

1402, 1414 (7th Cir. 1994) (“When this court sits in diversity,

federalism requires us to enforce the substantive law of the

forum state, even when we conclude we see a more

enlightened path.”).

2.2. Small involves an exceptionally important issue.

     Compounding Small’s misapprehension of California

law, even if Small were confined to life insurance in


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California, it still would have enormous public policy

ramifications.

      The Statutes reflect the California Legislature’s policy

determination that the best way to prevent unintended

lapses was “to protect all policy owners from losing

coverage.” McHugh, 494 P.3d at 42, 44. But under Small, no

one would be protected.

      First, Small ensures most owners and beneficiaries of

policies terminated in violation of the Statutes will never

discover they have a claim. Class notice informs people they

may have claim to pursue. Maracich v. Spears, 570 U.S. 48,

73 (2013). But as Small illustrates, its causation

requirement precludes class treatment, even one seeking

only declaratory relief under Rule 23(b). 122 F.4th at 1199–

1200. And without a class, there is no class notice. See Fed.

R. Civ. P. 23(c)(2)(A).

      Second, Small makes it difficult, if not impossible, for

owners and beneficiaries who discover their policies were

terminated in violation of the Statutes to obtain relief.


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Precluding class action makes many cases cost-prohibitive.

Deposit Guar. Nat. Bank v. Roper, 445 U.S. 326, 334 & n.6

(1980). And as the insurers concede, the causation standard

will make even economically viable cases virtually

impossible to prove. See Brief for Appellant, Small v.

Allianz, No. 23-55821, ECF No. 20, at 29–30, 37. This is

especially so given that many of these disputes only “arise

after policy owners have died.” McHugh, 494 P.3d at 44.

     Thus, Small ensures insurers can violate the Statutes

with impunity. This would be no small loss: California is the

largest life-insurance market in the United States, with over

10 million policies and $229 billion in life insurance sold

annually. See Brief of Amici Curiae AARP and AARP

Foundation Supporting Plaintiff-Appellate/Cross Appellee at

14–15, Dkt. No. 32.1, Poe v. N.W. Mut. Life Ins. Co. (9th Cir.

Mar. 15, 2024) (Nos. 23-3124 & 23-3243).

     But Small’s seismic effects will not be limited to life

insurance. On the contrary, Small’s core conclusion—that [1]

the only way to obtain relief for a violation of a


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pretermination-notice provision is a breach-of-contract

claim, and [2] the only way to prove a breach-of-contract

claim for the violation of a pretermination-notice provision is

to show a causal connection between the insurer’s failure to

provide the pretermination notice and the lapsed coverage—

will apply with equal force in any insurance context,

including auto, home, and other liability policies. Thus, so

long as Small is good law, it undermines critical safeguards

for all $3.8 trillion in insurance coverage in California. See

Brief of Amici Curiae Association of California Life and

Health Insurance Companies and the American Council of

Life Insurers Supporting Appellee/Cross-Appellant, at 1, 21,

Dkt. No. 53.1, Poe v. N.W. Mut. Life Ins. Co. (9th Cir. June

11, 2024) (Nos. 23-3124 & 23-3243).

     For the same reason, Small will undermine anti-lapse

statutes nationwide. Many states have anti-lapse statutes

like California. E.g., Fla. Stat. § 627.728(3)(a); Me. Stat.

§ 2739; N.J. Stat. Ann. § 17:29C-10; N.Y. Ins. Law

§ 3426(e)(1); Wis. Stat. § 344.34. And the driving force in


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Small’s analysis—the need to prove causation in a breach-of-

contract claim—is a feature of American common law. See

Restatement (Second) of Contracts § 347. Thus, so long as

Small is good law, it will undermine anti-lapse protections

nationwide in perpetuity. See John L. Watkins, Erie Denied:

How Federal Courts Decide Insurance Coverage Cases

Differently and What to Do About It, 21 Conn. Ins. L.J. 455,

457 (2015) (noting that “the consequences of an incorrect

Erie guess in coverage cases can have profound practical

implications beyond the immediate case because insurance

policies are typically written on common forms” and that “[a]

mistaken determination in one case may thus be repeated

many times over in being applied as persuasive precedent to

other claims”).

     At the risk of stating the obvious, the nationwide

coverage chaos Small will unleash is a flagrant affront to

federalism: Federal law reflects “a policy declaration that it

is in the public interest that the primary regulation of the

business of insurance be in the states, not in the national


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government.” Smith v. Pacificare Behav. Health of Cal., 93

Cal.App.4th 139, 152–153 (2001); accord Humana Inc. v.

Forsyth, 525 U.S. 299, 306 (1999). Thus, insurance is subject

“to substantial regulation under the state’s police power.”

McHugh, 494 P.3d at 30.

     Yet, because of CAFA, “many cases of this type have

been and likely will continue to be removed to federal court

and thus evade review by [state] courts.” Kilby v. CVS

Pharmacy, Inc., 739 F.3d 1192, 1196 (9th Cir. 2013).

     Given Small’s massive ramifications in an area

traditionally entrusted to state regulation, and the

impediments for state courts to correct Small’s mistake, it is

critical for this Court to rehear this case and thereby revisit

Small before it freezes Small into place in perpetuity.

     The recent certification in Pitt and the pending

Petition for Certiorari on certification is cause for this Court

to certify the causation question.

     Siino and Small are two of several appeals pending in

this Circuit involving the Statutes. In one of those appeals—


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Pitt, 2025 WL 556052—the panel certified, and the

California Supreme Court accepted, the following question:

      Do California Insurance Code §§ 10113.71 and
      10113.72 apply to life insurance policies
      originally issued or delivered in another state but
      maintained by a policy owner in California?

      The causation issue was raised in the briefing with this

Court in Pitt and is likely to be briefed in the California

Supreme Court as well.

      The fact that the California Supreme Court will review

at least one question regarding the Statutes, and may speak

on the causation issue, means this Court should certify the

causation question to the California Supreme Court under

California Rules of Court rule 8.548. Indeed, the causation

question meets all of the criteria for certification:

      [1] Certification is proper where there is no controlling

state precedent. Cole v. CRST Van Expedited, Inc., 932 F.3d

871, 877 (9th Cir. 2019). And if the text of section 10113.72

and the California Supreme Court’s statements in McHugh

are not sufficient to decide the case for Siino, then there is no



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controlling California precedent directly on point. Small, 122

F.4th at 1196.

       [2] Certification is proper where “courts have reached

different answers.” Minkler v. Safeco Ins. Co., 561 F.3d 1033,

1035 (9th Cir. 2009). And the causation question has led to

significant disagreement among the courts to consider the

question. Id. at 1193 & n. 2–3;

       [3] Certification is proper if “the question presents

important public policy ramifications.” N. River Ins. Co. v.

James River Ins. Co., 116 F.4th 855, 858 (9th Cir. 2024). And

as discussed, the causation question—by undermining

critical anti-lapse protections in the entire insurance

industry nationwide—has tremendous public-policy

ramifications.

       [4] Certification is proper where necessary to promote

“federalism.” N. River Ins. Co., 116 F.4th at 857. And the

causation question concerns insurance regulation, an issue

uniquely within state policy powers. Humana, 525 U.S. at

306.


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     Notably, no Circuit precedent precludes a panel from

certifying a question of state law to a state court of last

resort despite a published opinion on the same issue. And

certainly nothing precludes this en banc Court from asking

the California Supreme Court to decide the issue rather than

adhering to Small’s suspect Erie guess in perpetuity.

     Were this Court to refuse to certify the causation

question to the California Supreme despite all the foregoing,

it would only further underscore this Court’s tendency to

under-utilize the certification process to the detriment of

federalism, and to the frustration of litigants on both sides of

the isle. That tendency is the subject of a petition for writ of

certiorari pending before the United States Supreme Court

in a petition for certiorari in Premium Nutrition Corp. v.

Montera, No. 24-999 (Apr. 9, 2025). In the coming weeks,

Small’s counsel will file a similar petition for certiorari based

on this Court’s refusal to certify the Statutes’ causation issue

to the California Supreme Court.




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     But in the event this Court is not inclined to certify the

causation question to the California Supreme Court despite

all of the above, this Court should at least refrain from

issuing the mandate until the California Supreme Court

renders its opinion in Pitt or the United States Supreme

Court adjudications the petitions for certiorari in Montera

and Small.

                          CONCLUSION

     For the foregoing reasons, this Court should grant

panel rehearing and/or rehearing en banc. Alternatively, this

Court should certify the causation question to the California

Supreme Court.

May 15, 2025                       Respectfully submitted,

                                   s/ Benjamin I. Siminou
                                   Benjamin I. Siminou
                                   SINGLETON SCHREIBER, LLP




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               STATEMENT OF RELATED CASES

     The following appeals now pending in this Court involve

the same issues as this appeal (the proper interpretation of

California Insurance Code sections 10113.71 and 10113.72):

     •     Farley v. Lincoln Benefit Life Co.,
           No. 23-16224


     •     Poe v. Nw. Mut. Life Ins. Co.,
           Nos. 23-3124, 23-3243


     •     Pitt v. Metro. Tower Life Ins. Co.,
           No. 23-55566


     •     Moriarty v. Am. Gen. Life Ins.,
           No. 23-3650


     •     Small v. Allianz Life Ins. Co. of North America,
           No. 23-55821


     •     Park v. AXA Equitable Life Ins. Co.,
           No. 23-55130




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                     UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT

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                ADDENDUM
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                             FOR PUBLICATION

             UNITED STATES COURT OF APPEALS
                  FOR THE NINTH CIRCUIT

         PAMELA SIINO, Individually and on              No. 23-16176
         behalf of the Class,
                                                           D.C. No.
                         Plaintiff-Appellee,            4:20-cv-02904-
             v.                                               JST

         FORESTERS LIFE INSURANCE
         AND ANNUITY COMPANY, a New                       OPINION
         York Company,

                         Defendant-Appellant.

                  Appeal from the United States District Court
                    for the Northern District of California
                    Jon S. Tigar, District Judge, Presiding
                    Argued and Submitted January 14, 2025
                             Pasadena, California
                               Filed April 1, 2025

             Before: JOHNNIE B. RAWLINSON and MILAN D.
             SMITH, JR., Circuit Judges, and JED S. RAKOFF, *
                              District Judge.
                     Opinion by Judge Milan D. Smith, Jr.

         *
          The Honorable Jed S. Rakoff, United States District Judge for the
         Southern District of New York, sitting by designation.
        Case: 23-16176, 05/15/2025, ID: 12929426, DktEntry: 74, Page 37 of 62
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         2          SIINO V. FORESTERS LIFE INS. AND ANNUITY CO.


                                   SUMMARY **


               California Insurance Law / Declaratory Relief

             The panel affirmed in part and reversed in part the
         district court’s summary judgment in favor of Pamela Siino
         in her action for declaratory relief challenging Foresters Life
         Insurance and Annuity Company’s termination of her policy
         for nonpayment of premiums.
             Siino’s claims were premised on the insurer’s violation
         of two statutes, sections 10113.71 and 10113.72 of the
         California Insurance Code (the Statutes), which set forth a
         pretermination notice scheme designed to minimize the
         chance that policy holders would inadvertently
         default. Siino alleged that the insurer violated the Designee
         Notice Requirement (requiring insurers to notify policy
         owners of their right to designate at least one person to
         receive notice of lapse or termination of policy for
         nonpayment of premium) and the Pretermination Notice
         Requirement (requiring insurers to provide notice regarding
         impending termination for nonpayment at least 30 days
         before termination). Siino sought a declaration that (1) the
         insurer failed to comply with the Statutes in terminating her
         policy, (2) her policy remained valid and enforceable, (3) the
         insurer could not require her to pay back her overdue
         premiums. The district court granted the request in part,
         declaring that the insurer had wrongfully terminated Siino’s
         policy and that her policy would remain valid so long as
         Siino tendered all unpaid premiums.

         **
           This summary constitutes no part of the opinion of the court. It has
         been prepared by court staff for the convenience of the reader.
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                   SIINO V. FORESTERS LIFE INS. AND ANNUITY CO.      3


             The panel disagreed with the insurer that Siino’s request
         for declaratory relief was duplicative of her breach of
         contract claim, and concluded that the district court did not
         abuse its discretion in entertaining the request. Applying
         Small v. Allianz Life Insurance Co. of North America, 122
         F.4th 1182 (9th Cir. 2024), the panel held that the district
         court did not err in granting the first portion of Siino’s
         requested relief—a declaration that the insurer violated the
         Statutes—because Siino provided all necessary evidence to
         support the claim. The district court did not err in finding
         that the insurer violated the Statutes’ Pretermination Notice
         Requirement and Designee Notice Requirement.
             However, the panel held that the district court erred in
         granting the second portion of Siino’s requested relief—a
         declaration that her insurance policy remained valid—
         because this declaration required evidence of causation that
         Siino failed to provide. Even if the insurer had sent Siino
         the requisite notices, they would not have reached her where
         the record makes clear that Siino moved and failed to
         successfully update her address on file.
             Because all of Siino’s other claims were dismissed with
         prejudice, the panel remanded to the district court solely for
         the purpose of entering final judgment.


                                  COUNSEL

         Benjamin I. Siminou (argued) and Jonna D. Lothyan,
         Singleton Schreiber LLP, San Diego, California; Alex
         Tomasevic, Nicholas & Tomasevic LLP, San Diego,
         California; Sarah Ball and Jack B. Winters Jr., Winters &
         Associates, La Mesa, California; for Plaintiff-Appellee.
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         4         SIINO V. FORESTERS LIFE INS. AND ANNUITY CO.


         Jarrett E. Ganer (argued) and Thomas F. A. Hetherington,
         McDowell Hetherington LLP, Houston, Texas; James M.
         Chambers, McDowell Hetherington LLP, Arlington, Texas;
         Jodi K. Swick, McDowell Hetherington LLP, Oakland,
         California; for Defendant-Appellant.


                                   OPINION

         M. SMITH, Circuit Judge:

             In this insurance action arising under Sections 10113.71
         and 10113.72 of the California Insurance Code, Defendant-
         Appellant Foresters Life Insurance and Annuity Company
         (FLIAC) challenges the district court’s entry of summary
         judgment in favor of Plaintiff-Appellee Pamela Siino. Siino,
         whose FLIAC policy was terminated for nonpayment of
         premiums in 2018, sought a judicial declaration that
         (1) FLIAC failed to comply with the Insurance Code in
         terminating her policy, (2) her policy remained valid and
         enforceable, and (3) FLIAC could not require her to pay
         back her overdue premiums. The district court granted this
         request in part, declaring that FLIAC had wrongfully
         terminated Siino’s policy and that her policy would remain
         valid so long as Siino tendered all unpaid premiums. FLIAC
         argues that this result was erroneous, first, because Siino’s
         requested relief was duplicative of her other claims, and,
         further, because Siino failed to establish all necessary
         elements to support her requested declaratory relief.
             We disagree with FLIAC that Siino’s requested relief
         was duplicative and conclude that the district court did not
         abuse its discretion in entertaining the request. Nevertheless,
         following our recent opinion in Small v. Allianz Life
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                   SIINO V. FORESTERS LIFE INS. AND ANNUITY CO.       5


         Insurance Co. of North America, 122 F.4th 1182 (9th Cir.
         2024), we reach a mixed result on the merits of the relief that
         the district court granted. We conclude that the district court
         did not err in granting the first portion of Siino’s requested
         relief—a declaration that FLIAC violated the Insurance
         Code—because Siino provided all necessary evidence to
         support this claim. But we find that the district court did err
         in granting the second portion of Siino’s requested relief—a
         declaration that her insurance policy remained valid—
         because this declaration required evidence of causation that
         Siino failed to provide. As a result, we affirm in part and
         reverse in part the declaratory relief that the district court
         granted. Because all of Siino’s other claims were dismissed
         with prejudice, we remand to the district court solely for the
         purpose of entering final judgment.
                        FACTUAL BACKGROUND
             In 2010, Siino and her husband, nonparty Salvatore
         Siino, each purchased a life insurance policy from FLIAC.
         Siino’s policy was a twenty-year level term policy with
         $100,000 in face value, meaning that during the first twenty
         years of the policy, Siino could maintain coverage by paying
         a fixed annual premium. The policy provided a “[g]race
         [p]eriod of 31 days . . . for payment of each premium,” and
         stated that, although the “Policy w[ould] continue in force”
         during the grace period, “coverage . . . w[ould] terminate” if
         a “[g]race [p]eriod end[ed] without the payment of the
         required premium.” Siino’s annual premium payment was
         due on January 26 of each year.
             From 2010 to 2018, FLIAC sent Siino annual physical
         notices regarding her upcoming premium payments.
         However, in 2014, Siino moved away from the address that
         FLIAC had on file, and although she attempted to submit a
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         change-of-address request, it was deemed invalid because
         she did not sign it. 1 As a result, although FLIAC continued
         to send Siino annual premium due notices, Siino no longer
         received them, and she ultimately failed to pay her premium
         due on January 26, 2018. FLIAC followed up by letter on
         February 26, 2018, notifying Siino that her policy had
         “lapsed” and stating that she “still ha[d] the opportunity to
         reinstate [her] policy by sending in the premium . . . within
         30 days,” or by March 28, 2018. But Siino again did not
         receive the letter, and she failed to submit her overdue
         premium by the March deadline.
             In 2019, Siino’s husband realized that Siino may have
         missed a premium payment and reached out to the couples’
         FLIAC agent, Austin Batista, to “check into” the status of
         her policy. Batista responded that Siino’s policy had lapsed
         in 2018 due to her failure to pay the premium due that year.
         He explained that Siino “c[ould] submit a reinstatement
         application,” including an updated medical examination, “in
         order to get [her policy] in force.” But Siino declined to
         submit a reinstatement application or to proffer the premium
         payments she had missed. Instead, some time before March
         2020, she purchased a new life insurance policy from
         another provider. 2


         1
           Although Siino’s change-of-address request was deemed invalid, her
         husband submitted a valid change-of-address request with respect to his
         own policy. He continued to receive notices regarding his policy going
         forward, including an advisement regarding his right to designate a third-
         party addressee on his policy.
         2
          In April 2020, Batista followed up again, explaining that “[a]ll [Siino]
         would need to do” to “reinstate[]” her policy was “send the 3 years worth
         of missed premiums.” The notice was too late, as Siino had already
         purchased her new life insurance policy from another provider.
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                       PROCEDURAL BACKGROUND
             In April 2020, Siino filed a putative class action suit
         against FLIAC in the United States District Court for the
         Northern District of California. In the action, Siino brought
         claims for declaratory relief under state and federal law,
         breach of contract, and violations of California’s Unfair
         Competition Law (UCL). Her claims were premised on
         FLIAC’s alleged violation of two statutes, Sections
         10113.71 and 10113.72 of the California Insurance Code,
         that the California Legislature enacted in 2012 (the
         Statutes). 3
             The Statutes set forth a “single, unified pretermination
         notice scheme” consisting of “three components” designed
         to minimize the chance that policy holders would
         inadvertently default. McHugh v. Protective Life Ins. Co.,
         12 Cal. 5th 213, 240 (2021). First, the Statutes require
         insurers to give policy owners a 60-day grace period to pay
         a missed premium payment (the Grace Period Requirement).
         Cal. Ins. Code § 10113.71(a). Second, they require insurers
         to notify policy owners of their right to designate a third
         party to receive notices regarding overdue premiums or
         impending terminations of their policy (the Designee Notice

         3
           Although the issuance of Siino’s policy preceded the enactment of the
         Statutes, the California Supreme Court held in McHugh v. Protective Life
         Insurance Company, 12 Cal. 5th 213, 222 (2021), that the Statutes “apply
         to all life insurance policies in force as of January 1, 2013,” the date on
         which the Statutes went into effect. There is thus no dispute that, under
         McHugh, the Statutes apply to Siino’s policy, and its regulatory
         requirements are therefore “deemed to be incorporated into [her] policy.”
         Id. at 224; see Cal-Farm Ins. Cos. v. Fireman’s Fund Am. Ins. Cos., 25
         Cal. App. 3d 1063, 1071 (1972). As a result, the parties agree that any
         violations of the Statutes by FLIAC are substantively equivalent to a
         breach of FLIAC’s policy, i.e., its contract, with Siino.
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         Requirement). Id. § 10113.72(a), (b). Third, and finally, the
         Statutes require insurers to provide notices regarding any
         unpaid premium, within 30 days of the missed payment, and
         notices regarding impending termination for nonpayment, at
         least 30 days before termination (the Pretermination Notice
         Requirement). Id. §§ 10113.71(b), 10113.72(c). Siino
         specifically alleged that FLIAC violated the latter two
         requirements, i.e., the Designee Notice Requirement and the
         Pretermination Notice Requirement.
             In June 2020, FLIAC moved to dismiss for lack of
         standing; the district court granted the motion only as to
         Siino’s request for injunctive relief under the UCL, which it
         dismissed without prejudice. Siino declined to amend her
         complaint or reincorporate the claim, and the parties
         proceeded to discovery. Siino then moved for class
         certification in April 2021. The district court denied Siino’s
         motion on the ground that damages could not be calculated
         on a class-wide basis. Finally, in December 2022, Siino
         moved for summary judgment on her claim for federal
         declaratory relief under the Declaratory Judgment Act
         (DJA), 28 U.S.C. § 2201, et seq. Through her motion, Siino
         sought a declaration that (1) FLIAC failed to comply with
         the Statutes in terminating her policy, (2) her policy
         remained valid and enforceable, and (3) FLIAC could not
         require Siino to pay back her missed premiums.
             The district court granted Siino’s motion in part and
         denied it in part. It found that Siino’s requested declaratory
         relief was not duplicative of her other claims and therefore
         was appropriately before the court. It further found that
         Siino was not required to prove all the elements of a breach
         of contract claim in order to obtain her requested declaratory
         relief. Applying that understanding, the district court held
         that FLIAC failed to comply with the Statutes in terminating
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         Siino’s policy and that Siino’s policy remained valid and
         enforceable. The district court held, however, that because
         the declaratory relief Siino sought was akin to specific
         performance, Siino was required to tender all overdue
         premiums to FLIAC in order to maintain her policy going
         forward. The district court ordered the parties to meet and
         confer regarding the total amount of overdue premiums that
         Siino owed and the deadline by which she would tender that
         amount to FLIAC.
             Following the summary judgment ruling, the parties
         stipulated that Siino would tender $978 to FLIAC,
         encompassing the six premium payments she had missed
         from 2018 to 2023, along with six percent interest. Siino
         complied with the stipulation by timely submitting this sum
         to FLIAC. Thereafter, the parties stipulated to the voluntary
         dismissal, with prejudice, of Siino’s remaining claims for
         breach of contract, state-law declaratory relief, and
         violations of the UCL. With Siino’s federal-law declaratory
         judgment claim resolved by the court’s summary judgment
         ruling, and all other claims dismissed, the parties jointly
         requested the entry of final judgment. The district court
         granted the request and entered judgment in August 2023.
              FLIAC timely appeals from that result, raising two
         primary challenges to the district court’s summary judgment
         ruling. First, FLIAC contends that the district court abused
         its discretion by entertaining Siino’s requested declaratory
         relief because it was duplicative of her breach of contract
         claim. Second, FLIAC contends that the district court erred
         by granting this declaratory relief without a proper
         evidentiary record. FLIAC specifically contends that,
         because Siino’s requested declaratory relief overlapped with
         her claim for breach of contract, Siino was required to prove
         all the elements of breach of contract, including causation,
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          in order to achieve her requested relief. FLIAC argues that
          Siino failed to make this showing because the undisputed
          evidence reflects that FLIAC did not breach its contract with
          Siino and that, even if it did, its actions were not the legal
          cause of Siino’s injury.
              While FLIAC’s appeal was pending, we issued our
          opinion in Small. That opinion, which concerned the
          certification of a class seeking relief under the Statutes,
          addressed a split among courts in our circuit as to whether
          questions of causation are relevant to breach of contract
          claims brought pursuant to the Statutes. Small, 122 F.4th at
          1192. As Small noted, one group of courts in our circuit had
          adopted a “violation-only” approach under which an
          insurer’s violation of the Statutes was adequate to support a
          breach of contract claim, irrespective of the plaintiff’s ability
          to show a causal relationship between the violation and any
          resulting injuries. Id. Other courts applied a standard
          “causation” approach, requiring “that the plaintiff . . . not
          only allege a violation of the Statutes, but . . . also show that
          the violation caused them harm.” Id. at 1193. Small adopted
          the latter theory. Id. It held that courts must “apply the usual
          requirements for a breach of contract claim in cases based on
          claimed violations of the Statutes.” Id. at 1195.
               JURISDICTION AND STANDARD OF REVIEW
              We have jurisdiction to review the district court’s
          summary judgment ruling pursuant to 28 U.S.C. § 1291.
          Richardson-Merrell, Inc. v. Koller, 472 U.S. 424, 429–30
          (1985). “We review de novo a district court’s grant or denial
          of summary judgment.” Botosan v. Paul McNally Realty,
          216 F.3d 827, 830 (9th Cir. 2000). “Thus, on appellate
          review, we employ the same standard used by the trial court
          under Federal Rule of Civil Procedure 56(c).” Animal Legal
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          Def. Fund v. U.S. Food & Drug Admin., 836 F.3d 987, 988
          (9th Cir. 2016). Under that standard, “[s]ummary judgment
          is appropriate only if, taking the evidence and all reasonable
          inferences drawn therefrom in the light most favorable to the
          non-moving party, there are no genuine issues of material
          fact and the moving party is entitled to judgment as a matter
          of law.” Furnace v. Sullivan, 705 F.3d 1021, 1026 (9th Cir.
          2013) (quoting Torres v. City of Madera, 648 F.3d 1119,
          1123 (9th Cir. 2011)); see Orloff v. Cleland, 708 F.2d 372,
          375 (9th Cir. 1983).
              “[O]ur review of a district court’s decision to entertain
          an action under the Declaratory Judgment Act is deferential,
          under the abuse of discretion standard.” Gov’t Emps. Ins.
          Co. v. Dizol, 133 F.3d 1220, 1223 (9th Cir. 1998); see Wilton
          v. Seven Falls Co., 515 U.S. 277, 289–90 (1995).
                                   ANALYSIS
            I. The District Court Did Not Abuse Its Discretion by
               Entertaining Siino’s Requested Declaratory Relief.
              FLIAC first argues that the district court abused its
          discretion by entertaining Siino’s request for declaratory
          relief under the DJA. As FLIAC notes, the DJA creates a
          permissive scheme under which a district court “may,” but
          need not, “declare the rights and other legal relations of any
          interested party.” 28 U.S.C. § 2201(a); see Gov’t Emps. Ins.,
          133 F.3d at 1223. Thus, “the district court has discretion to
          determine whether maintaining jurisdiction over the
          declaratory action would be appropriate.” Allstate Ins. Co.
          v. Herron, 634 F.3d 1101, 1107 (9th Cir. 2011). In
          evaluating the propriety of a declaratory action, the “district
          court is to consider a variety of factors, including whether
          retaining jurisdiction would . . . risk duplicative
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          litigation . . . [or] serve a useful purpose in clarifying the
          legal relations at issue.” Id.
              FLIAC argues that Siino’s requested declaratory relief
          was not appropriately before the district court because it was
          duplicative of the breach of contract claim that Siino asserted
          in her complaint. FLIAC contends that, due to the close
          similarities between the two claims, the district court was
          foreclosed from adjudicating both. Siino responds that,
          although the district court had the power to set aside her
          request for declaratory relief, it did not abuse its discretion
          by declining to do so because the claim was not superfluous.
          Thus, the relevant question is whether any substantive
          differences exist between the two claims.
              We conclude that the two claims are substantively
          different. As noted, Siino, through her claim for declaratory
          relief, sought a legal declaration that: (1) “Foresters did not
          comply with all of the provisions of [the Statutes] before it
          terminated Mrs. Siino’s Policy on February 26, 2018”;
          (2) “Mrs. Siino’s Policy remains valid and enforceable”; and
          (3) “Foresters may not require Mrs. Siino to pay ‘back
          premiums’ accruing since January 2018 in order to revive
          the Policy.” By contrast, through her claim for breach of
          contract, Siino sought damages based on her contention that
          FLIAC “breached and continue to breach the express terms
          of their life insurance policies, including Plaintiff’s Policy,
          as well as the statutory mandates regarding such policies.”
              These claims are not coextensive because they answer
          different questions and turn on different considerations. For
          example, whereas Siino’s declaratory relief claim concerns
          her entitlement to a legal declaration of her rights and
          obligations with respect to her FLIAC policy, Siino’s breach
          of contract claim concerns her entitlement to damages based
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          on FLIAC’s contractual violations. The difference between
          these two inquiries is material, affecting not only how
          Siino’s injuries are remedied but also what is required to
          access those remedies. A claim for breach of contract, for
          instance, requires evidence of damages, Bramalea Cal., Inc.
          v. Reliable Interiors, Inc., 119 Cal. App. 4th 468, 473 (2004),
          while parts of Siino’s requested declaratory relief does not.
          Similarly, while portions of Siino’s declaratory relief focus
          only on FLIAC’s actions, Siino’s breach of contract claim
          focuses on the effects and consequences of those actions. In
          this way, the simultaneous adjudication of both claims
          would involve different inquiries and present a low risk of
          “duplicative litigation.” Allstate Ins. Co., 634 F.3d at 1107.
              Further, even if Siino’s claims are slightly duplicative,
          the adjudication of both could “serve a useful purpose in
          clarifying the legal relations at issue.” Id.; see, e.g., Steen v.
          Am. Nat’l Ins. Co., 609 F. Supp. 3d. 1066, 1073 (C.D. Cal.
          2022). In particular, although Siino’s declaratory relief and
          breach of contract claims could both result in a
          determination that her policy was improperly terminated,
          only Siino’s declaratory relief claim carries that idea one
          step forward by asking whether Siino is obligated to pay
          back her overdue premiums. That question speaks to the
          future obligations of the parties, an issue that would not be
          addressed by Siino’s breach of contract claim. Therefore,
          for this reason alone, the adjudication of Siino’s declaratory
          relief claim would not be a waste of judicial resources. See
          Gov’t Emps. Ins., 133 F.3d at 1225–26.
             For the foregoing reasons, we conclude that the district
          court did not abuse its discretion by entertaining Siino’s
          request for declaratory relief. We proceed to evaluate the
          merits of the relief that the district court granted.
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            II. The District Court Erred in Part by Granting
                Siino’s Requested Declaratory Relief.
              After electing to entertain Siino’s request for declaratory
          relief, the district court proceeded to grant it, at least in part,
          by holding that FLIAC failed to comply with the Statutes in
          terminating Siino’s policy and that, as a result, her policy
          remained effective. In reaching this conclusion, the district
          court noted the overlap between Siino’s declaratory and
          breach of contract claims, and it evaluated evidence
          pertaining to whether FLIAC had violated the Statutes.
          Nevertheless, the district court declined to consider the
          traditional elements of breach of contract, such as causation
          and damages, explaining that they did not bear on its
          decision whether to grant declaratory relief. See Miles v.
          Deutsche Bank Nat’l Tr. Co., 236 Cal. App. 4th 394, 402
          (2015). FLIAC contends that this was erroneous and that
          Siino was required to prove all the elements of breach of
          contract in order to secure her requested declaratory relief.
          FLIAC further asserts that, had the district court insisted
          upon the proper presentation of evidence, Siino’s declaratory
          claim would have fallen short. We evaluate these issues in
          turn.
                a. Relief Under the DJA is Context-Specific.
              As noted, we begin by reviewing the legal framework
          and requirements for declaratory relief. Although the DJA
          allows a court to “declare the rights and other legal relations
          of any interested party,” 28 U.S.C. § 2201(a), it “does not
          create new substantive rights,” Republic of Marsh. Is. v.
          United States, 865 F.3d 1187, 1199 n.10 (9th Cir. 2017).
          Instead, the DJA is a purely remedial statute that “provides
          an affirmative remedy only when a cause of action otherwise
          exists.” City of Reno v. Netflix, Inc., 52 F.4th 874, 876 (9th
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          Cir. 2022) (per curiam); see also Schilling v. Rogers, 363
          U.S. 666, 677 (1960) (relief under the DJA “presupposes the
          existence of a judicially remediable right”). Frequently, as
          in the present action, the cause of action accompanying a
          request for declaratory judgment is breach of contract, for
          which the declaratory judgment serves as a remedy. See,
          e.g., Allstate, 634 F.3d at 1108. In such cases, the
          declaratory judgment may be used to affirm the existence of
          a breach of contract or to clarify any attending contractual
          obligations. See Dizol, 133 F.3d at 1222 n.2, 1225–26.
              Yet the fact that declaratory relief must arise from a
          “valid legal predicate,” such as breach of contract, Chevron
          Corp. v. Naranjo, 667 F.3d 232, 244 (2d Cir. 2012), does not
          necessarily mean that declaratory relief requires proving the
          underlying claim. FLIAC suggests, for example, that
          because Siino seeks declaratory relief arising from her
          breach of contract claim, Siino must prove each of the
          elements of breach of contract to earn her requested
          declaratory relief. But this contention, which is at the core
          of FLIAC’s appeal, is without support. FLIAC provides no
          authority or case that is on point. To the contrary, and as
          Siino points out, the only decisions that have opined on the
          legal requirements for declaratory relief have described the
          necessary showing in broad strokes. One such decision held
          simply that declaratory relief requires no more than “a
          substantial controversy, between parties having adverse
          legal interests, of sufficient immediacy and reality to warrant
          the issuance of a declaratory judgment.” MedImmune, Inc.
          v. Genentech, Inc., 549 U.S. 118, 127 (2007) (quoting Md.
          Cas. Co. v. Pac. Coal & Oil Co., 312 U.S. 270, 273 (1941));
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          see Boeing Co. v. Cascade Corp., 207 F.3d 1177, 1192 (9th
          Cir. 2000). 4
              Nevertheless, “[e]ven the most liberal construction that
          can be placed upon [the DJA] will not warrant the courts in
          granting affirmative relief by way of a declaratory judgment
          in the absence of pleading and proof warranting such relief.”
          See Mackay v. Whitaker, 116 Cal. App. 2d 504, 510 (1953)
          (quoting 1 Anderson, Declaratory Judgments § 198 (2d ed.
          1951)). Thus, a plaintiff seeking declaratory relief must
          adduce an evidentiary record sufficient to support the terms
          of their requested declaration. The evidentiary record that is
          required will depend on “the nature of the relief asked for
          and granted[,]” as opposed to the precise claim underlying
          the declaratory judgment remedy. Pac. Portland Cement
          Co. v. Food Mach. & Chem. Corp., 178 F.2d 541, 546 (9th
          Cir. 1949); see, e.g., Hoeck v. City of Portland, 57 F.3d 781,
          787 (9th Cir.), as amended (July 10, 1995). In other words,
          what a claimant must prove to earn declaratory relief is
          context-specific: It may overlap entirely with the underlying
          claim, as FLIAC suggests, or it may turn on certain smaller
          issues or topics to which the desired declaration pertains.
             Two recent examples help to illustrate this principle. In
          Drummond Coal Sales, Inc. v. Norfolk S. Ry. Co., 3 F.4th
          605 (4th Cir. 2021), the plaintiff, seeking to be excused from
          making required payments pursuant to a contract, requested

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            California courts are in accord that declaratory relief need not hew
          exactly to the underlying claim. See Meyer v. Sprint Spectrum L.P., 45
          Cal. 4th 634, 647 (2009) (“[California law] does not require a breach of
          contract in order to obtain declaratory relief, only an ‘actual
          controversy.’” (quoting Cal. Civ. Proc. Code § 1060)); see, e.g.,
          Fujimoto v. W. Pioneer Ins. Co., 86 Cal. App. 3d 305, 313 (1978)
          (evaluating declaratory relief arising from breach of contract without
          considering causation or damages).
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          a declaration that the defendant had “materially breached the
          agreement.” Id. at 609–10, 613–14. In requesting this
          declaration, the plaintiff “did not seek a sword—it neither
          alleged a breach of contract claim nor sought declaratory
          relief on all the elements of such a claim.” Id. at 613.
          Instead, it sought a “shield”—a “statement of its rights and
          responsibilities based on its belief that [the defendant]
          breached the [a]greement.” Id. As a result, when reviewing
          the jury verdict on appeal, the court only evaluated the
          sufficiency of the evidence regarding breach, and it rejected
          the defendant’s argument that the plaintiff had been required
          to introduce “evidence on all the elements of an action for
          breach of contract,” including causation and damages. Id.
          The court found that, “[w]hile [the defendant] would have
          [it] analyze whether the jury properly found all elements met
          for a breach of contract claim, that is not the question the
          jury was asked because that is not the claim [the plaintiff]
          brought.” Id.
              These circumstances contrast with those in Small. There,
          a putative class seeking relief under the Statutes sought “a
          declaration that their life insurance policies were improperly
          lapsed by [the defendant] because it failed to strictly comply
          with the Statutes before it lapsed those policies.” Small, 122
          F.4th at 1190. Like in Drummond, the district court awarded
          the requested declaration without considering evidence of
          causation or damages. Id. at 1201; see Drummond, 3 F.4th
          at 613–14. But we reversed. Small, 122 F.4th at 1203.
          Scrutinizing the terms of the class’s requested relief, we
          reasoned that it effectively sought a “declar[ation] that
          the[ir] policies ‘improperly lapsed,’” and thus remained
          valid, “because [the defendant] failed to comply with the
          Statutes.” Id. at 1201. In other words, the requested relief
          did not stop at the question of breach—whether the
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          defendant violated the Statutes or not—but, instead, further
          implicated the practical effects of that breach—whether the
          violation of the Statutes had resulted in the continued
          validity of the class’s policies. Id. Because the declaration,
          in this way, functionally “adjudicate[d] the breach of
          contract claim,” we concluded that the district court could
          not grant the declaration in the absence of evidence
          supporting all elements of breach of contract, including
          “causation and damages.” Id.
               b. Different Portions of Siino’s              Requested
                  Declaratory   Relief  Required              Different
                  Evidentiary Showings.
              This background informs our analysis of Siino’s
          requested declaratory relief. As noted, there were two main
          components to that relief. First, Siino sought a declaration
          that FLIAC failed to comply with the Statutes when
          terminating her policy. Second, Siino sought a declaration
          that, as a result of FLIAC’s failure to comply with the
          Statutes, FLIAC’s termination of her policy was improper
          and ineffective; Siino’s policy remained valid and
          enforceable; and Siino was not required to tender any
          overdue premium payments. As illustrated by Drummond
          and Small, these declarations correspond to different issues,
          and, accordingly, require different forms of evidence.
              The first portion of the declaration, regarding FLIAC’s
          failure to comply with the Statutes, is most analogous to
          Drummond. This declaration pertains narrowly to the
          limited question of breach—whether FLIAC, in terminating
          Siino’s policy, did so in a way that was or was not compliant
          with the applicable rules set forth in the Statutes. Thus, as
          in Drummond, the requested declaration is not an offensive
          “sword” that Siino could use to collect damages, but, instead,
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          only a “shield” that Siino might use “to protect [herself]
          should [FLIAC] seek payment” of overdue premiums. 3
          F.4th at 613. As a result, before awarding this portion of the
          declaration, the district court was not required to analyze all
          the elements of breach of contract. Id. Instead, because the
          requested relief purely corresponded to the question of
          breach, that is the sole element that Siino was required to
          establish. See id.; see also, e.g., Fujimoto, 86 Cal. App. 3d
          at 313.
              The outcome is different with respect to the second
          portion of Siino’s requested declaration, regarding the
          effects of FLIAC’s contractual breach and the continued
          viability of Siino’s policy. Like the requested declaration in
          Small, this declaration raises the question whether Siino’s
          policy remains valid “because [FLIAC] failed to comply
          with the Statutes.” Small, 122 F.4th at 1201. Therefore, in
          contrast with Drummond and the first portion of Siino’s
          requested declaration, the second portion of the requested
          declaration is not limited to the question of breach—whether
          FLIAC failed to comply with the Statutes—but goes further
          to probe the consequences of that breach—whether FLIAC’s
          failure to comply means that Siino’s policy was “improperly
          lapsed” and remains valid going forward. Id. As a result, as
          in Small, this requested declaration functionally
          “adjudicate[s] [Siino’s] breach of contract claim” and
          therefore turns on Siino’s ability to prove the elements of
          breach of contract, including causation and damages. Id.
                c. The District Court Did Not Err by Granting the
                   First Portion of Siino’s Requested Declaratory
                   Relief.
             We next evaluate Siino’s presentation of evidence,
          focusing first on the first portion of her requested declaratory
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          relief—the declaration that FLIAC failed to comply with the
          Statutes in terminating Siino’s policy. As discussed, we
          have concluded that this relief pertained only to the question
          of breach, and the district court found that Siino established
          that element through evidence that FLIAC violated the
          Statutes’ Pretermination Notice and Designee Notice
          Requirements. We discern no error in these findings.
          Accordingly, we affirm the district court’s decision to grant
          the first portion of Siino’s requested relief.
                   i. Pretermination Notice Requirement
              We first conclude that the district court did not err by
          finding that FLIAC violated the Statutes’ Pretermination
          Notice Requirement. This rule requires that insurers provide
          insureds with a “notice of pending lapse and termination” at
          least 30 days prior to terminating a policy for unpaid
          premiums. Cal. Ins. Code §§ 10113.71(b)(1), 10113.72(c).
          Whether FLIAC satisfied this rule turns on the details of the
          notice it sent to Siino on February 26, 2018, following her
          failure to pay her premium payment due on January 26,
          2018. 5 The notice stated that “[t]he 31 day grace period on
          [Siino’s] policy ha[d] expired and [the] policy ha[d] now
          lapsed.” It then stated that Siino “still ha[d] the opportunity
          to reinstate [her] policy by sending in the premium” before
          March 28, 2018. The notice concluded with the statement
          that “[i]f [Siino] fail[ed] to make a payment within the
          specified timeframe, [her] policy w[ould] still be considered
          lapsed.”
              FLIAC’s notice to Siino does not satisfy the
          Pretermination Notice Requirement because it was not sent

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            It is undisputed that FLIAC sent no other notice to Siino that might
          satisfy the Pretermination Notice Requirement.
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          “at least 30 days prior to the effective date of termination.”
          Cal. Ins. Code § 10113.71(b)(1). According to the notice’s
          own description, Siino’s policy had already “lapsed” at the
          time the notice was sent. Thus, whereas an appropriate
          pretermination notice would have advised Siino about the
          “pending lapse” of her policy and reminded her to pay her
          premium before it lapsed, id., FLIAC’s notice did exactly the
          opposite—it advised Siino that her policy had already
          “lapsed” and offered her a retroactive opportunity to
          “reinstate” the lapsed policy by submitting her overdue
          payment. This notice failed to provide Siino with the
          pretermination warning she was owed under the Statutes.
          See id.
              FLIAC responds that, even though its notice stated that
          Siino’s policy had lapsed, its own records show that Siino’s
          policy remained in force at the time of the notice, such that
          FLIAC would have paid a claim if Siino had submitted one
          at that time. However, as the district court correctly noted,
          this consideration is not relevant to whether FLIAC
          complied with the Pretermination Notice Requirement. As
          noted, that requirement mandated that FLIAC’s
          pretermination notice advise Siino about the “pending lapse
          and termination” of her policy. Id. Thus, even if Siino’s
          policy had not truly lapsed as of February 26, 2018, the only
          way for FLIAC to satisfy its statutory obligations was to
          warn her, within 30 days of termination, that lapse was
          imminent. Because FLIAC did not do so, we conclude that
          there is no genuine dispute of fact that FLIAC violated the
          Pretermination Notice Requirement.
                 ii. Designee Notice Requirement
              We further conclude that the district court did not err by
          finding that FLIAC violated the Statutes’ Designee Notice
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          Requirement. This rule requires that insurers provide policy
          owners “the right to designate at least one person . . . to
          receive notice of lapse or termination of a policy for
          nonpayment of premium.” Cal. Ins. Code § 10113.72(a).
          The insurer shall, upon the initiation of a new policy,
          “provide each applicant with a form to make the
          designation.” Id. Thereafter, the insurer shall “notify the
          policy owner annually of the right to change the written
          designation or designate one or more persons.” Id.
          § 10113.72(b). Since the Statutes took effect on January 1,
          2013, FLIAC was obligated to provide these notices to Siino
          each year from 2013 onward. McHugh, 12 Cal. 5th at 220,
          225.
              In connection with her motion for summary judgment,
          Siino affirmatively declared that FLIAC had not satisfied the
          Designee Notice Requirement. Specifically, she stated that
          “at no time in or since 2013 did [FLIAC] advise [her] of [her]
          right to designate another person to receive important policy
          notices, like notices of premiums being due, premiums being
          missed, or impending lapse.” FLIAC did not rebut this
          declaration. Instead, it introduced the deposition testimony
          of David Schimmel, a corporate representative of FLIAC,
          who stated that he could not “confirm or deny whether”
          Siino received “any notice in writing that she had a right to
          designate another individual to receive notices before her
          policy would be lapsed or terminated.” Schimmel further
          testified that FLIAC had unsuccessfully “exhausted all
          options” to “ascertain” whether Siino had received a
          designation notice.
              Because Siino affirmatively declared that FLIAC never
          sent her notice of the right to designate, and FLIAC failed to
          bring forward opposing evidence suggesting that it did so,
          there is no genuine dispute of fact that FLIAC violated the
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          Designee Notice Requirement. See Fed. R. Civ. P. 56(c)(1),
          (e); United States v. Falcon, 805 F.3d 873, 876 (9th Cir.
          2015). FLIAC nevertheless contends that it was not required
          to bring forward opposing evidence because Siino, having
          moved from her address on file with FLIAC, “lack[ed] the
          personal knowledge necessary to say that FLIAC did not
          send the designation notice to her address of record.”
          FLIAC suggests that because Siino’s declaration was “self-
          serving” in this way, it was not required to rebut it.
              FLIAC’s argument is not persuasive because the
          undisputed evidence at summary judgment reflected that
          Siino, despite her move, retained access to mail sent to her
          original address—the one that was on file with FLIAC—
          until 2015. FLIAC does not dispute that its obligation to
          begin sending Siino annual notices of her right to designate
          commenced in 2013. Therefore, although there could be
          reason to doubt Siino’s declaration that she did not receive
          notices from 2015 onward, there is no reason to doubt her
          declaration that she did not receive notices in 2013 and 2014.
          With this consideration in mind, we conclude that there is no
          genuine issue of fact that FLIAC violated the Designee
          Notice Requirement.
              Because we agree with the district court that FLIAC
          violated two of the requirements set forth in the Statutes, we
          affirm the district court’s decision to grant the first portion
          of Siino’s requested declaratory relief. 6


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            FLIAC also argues that the district court erred by granting this relief
          without considering its affirmative defenses, including waiver,
          ratification, and failure to mitigate. FLIAC is correct that a district court
          must “provide [an appellant] an opportunity to present affirmative
          defenses to liability.” Walgreen Ariz. Drug Co. v. Levitt, 670 F.2d 860,
          863 (9th Cir. 1982). But as we have explained, the first portion of Siino’s
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                d. The District Court Erred by Granting the
                   Second Portion of Siino’s Requested
                   Declaratory Relief.
              Finally, we turn to the second portion of Siino’s
          requested declaratory relief—the declaration that Siino’s
          policy remained valid and enforceable. As discussed, we
          conclude that this relief required Siino to prove all the
          elements of breach of contract, including causation. Miles,
          236 Cal. App. 4th at 402. Although the district court did not
          address this element, it presents a straightforward inquiry in
          the context of Siino’s claims: By failing to comply with the
          Pretermination Notice and Designee Notice Requirements
          set forth in the Statutes, did FLIAC practically cause the
          harm of which Siino now complains, i.e., the termination of
          her FLIAC policy?
              Such causation questions can prove challenging in the
          many cases in which policyholders intentionally allow their
          policies to lapse or otherwise fail to manage their policies.
          “For example, ‘although the Statutes require Insurers to give
          Insureds an opportunity to designate a designee, if the
          Insured would never have designated a designee anyway,
          then . . . damages cannot be said to result from the Insurer’s
          failure to provide an opportunity to designate.’” Small, 122
          F.4th at 1191–92 (quoting Steen v. Am. Nat’l Ins. Co., No.
          20-CV-11226-ODW, 2023 WL 4004192, at *12 (C.D. Cal.
          June 14, 2023)). Similarly, although the Statutes require
          insurers to provide notice before terminating a policy for
          unpaid premiums, if the insured intentionally declined to pay

          declaratory relief corresponded only to the question of breach and did
          not adjudicate Siino’s underlying breach of contract claim. Therefore,
          the affirmative defenses that FLIAC asserted were not relevant to the
          district court’s decision to grant this relief.
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          their premiums, the eventual termination of the policy
          cannot be fairly characterized as the fault of the insurer. See
          id.
              As previously noted, the difficulty of these cases
          prompted a doctrinal split among courts in our circuit, under
          which some courts began to ignore questions of causation
          entirely. Id. at 1192. This split was unresolved at the time
          the district court issued its summary judgment ruling in this
          case. However, this split was resolved by Small, which
          concluded “that a breach of contract claim in this context
          should operate [no] differently than it usually would: by
          requiring a breach that caused the plaintiff’s injury.” Id. at
          1193–94. Under this rule, a plaintiff pursuing a breach of
          contract claim under the Statutes must show not only that the
          defendant failed to comply with the Statutes, but, further,
          that this lack of compliance is the but-for and proximate
          cause of the plaintiff’s injury. Id. Making this showing
          requires the plaintiff to “demonstrate that they did not
          knowingly or intentionally let the[ir] policy lapse such that
          the Insurer’s compliance with the Statutes would have
          caused the plaintiff to pay their premiums and retain the
          policy.” Id. at 1193. Stated differently, the plaintiff must
          prove that they did not engage in any conduct that could have
          severed the causal relationship between the defendant’s
          actions and the plaintiff’s injury. Id.
              That standard is not satisfied here. As noted, Siino’s
          claimed injury is the improper termination of her policy, and
          she claims that this injury is the result of FLIAC failing to
          provide her with pretermination notice and notice of her
          designation rights, as the Statutes require. But even if
          FLIAC had sent Siino these notices, they would not have
          reached her: Because the record makes clear that Siino
          moved in 2014 and failed to successfully update her address
        Case: 23-16176, 05/15/2025, ID: 12929426, DktEntry: 74, Page 61 of 62
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          on file, there is no dispute that any additional notices sent by
          FLIAC would have been directed to an old address where
          Siino would not have received them.               Against this
          background, the ultimate termination of Siino’s policy
          “cannot be said to result from [FLIAC]’s failure to provide”
          its statutorily required notices. Small, 122 F.4th at 1192
          (quoting Steen, 2023 WL 4004192, at *12). Instead, the only
          action with a causal effect on the termination of the policy is
          Siino’s own: her unresolved failure to pay her annual
          premium in 2018.
             For the foregoing reasons, we conclude, based on the
          undisputed evidence presented before the district court, that
          FLIAC’s violations of the Statutes were not the legal cause
          of Siino’s injury. Thus, we reverse the district court’s
          decision to grant the second portion of Siino’s requested
          declaratory relief. 7
                                     CONCLUSION
              We conclude that the district court did not abuse its
          discretion by entertaining Siino’s request for declaratory
          relief. We further conclude that the district court did not err
          by granting the first portion of Siino’s requested declaratory
          relief—a declaration that FLIAC failed to comply with the
          Statutes. Because this declaration pertained solely to the
          question of breach, that is the sole element that Siino was

          7
           Because we find that Siino failed to establish causation, we do not reach
          FLIAC’s additional arguments that Siino failed to establish the elements
          of damages and specific performance. INS v. Bagamasbad, 429 U.S. 24,
          25 (1976) (“As a general rule courts . . . are not required to make findings
          on issues the decision of which is unnecessary to the results they reach.”).
          We also do not reach FLIAC’s argument that the district court erred by
          failing to consider its affirmative defenses to this portion of Siino’s
          relief.
        Case: 23-16176, 05/15/2025, ID: 12929426, DktEntry: 74, Page 62 of 62
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          required to establish. We find that Siino established this
          element through undisputed evidence that FLIAC violated
          two provisions of the Statutes: (1) the requirement that it
          provide notice prior to terminating a policy for unpaid
          premiums and (2) the requirement that it provide notice
          regarding designation rights. Therefore, we affirm the
          district court’s decision to grant the first portion of Siino’s
          requested declaratory relief.
              Nevertheless, we conclude that the district court erred in
          granting the second portion of Siino’s requested declaratory
          relief—a declaration that her policy remained valid despite
          FLIAC’s improper attempts to terminate it. We find that, as
          in Small, this declaration functionally adjudicated Siino’s
          breach of contract claim, and Siino was therefore obligated
          to establish all elements of breach of contract, including
          causation, to support the requested declaration. 122 F.4th at
          1201. We find that Siino failed to establish those elements
          because the undisputed evidence reflects that FLIAC’s
          violations of the Statutes were not the legal cause of Siino’s
          injury. Therefore, we reverse the district court’s decision to
          grant the second portion of Siino’s requested declaratory
          relief.
              In conclusion, we affirm in part and reverse in part the
          district court’s summary judgment ruling. Because all of
          Siino’s other claims were dismissed with prejudice, we
          remand to the district court solely for the purpose of entering
          final judgment.
            REVERSED in part, AFFIRMED in part, and
          REMANDED.
             Each side shall bear its own costs on appeal.
